                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA



ELIZABETH SINES ET AL.                               :    Case No. 3:17-CV-72

              Plaintiff                              :    Judge MOON


                                                     :
     -v-

JASON KESSLER ET AL.                                 :

                                                     :
              Defendants

_______________________________________________________

       BRIEF IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL
_______________________________________________________


     In support of their motion to withdraw Counsel state as follows:

     1. Mr. Kline has been unresponsive to Counsel’s attempts to communicate

           throughout this litigation.

     2. Counsel very nearly was unable to respond to discovery due to Mr. Kline’s

           refusal to answer our calls or e-mails.

     3. Only at the last minute, and after we requested other clients who used to know

           Mr. Kline to reach out and advise we would have to withdraw if we did not

           hear from him, did Mr. Kline respond and allow us to respond to discovery.




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4. At that Mr. Kline was told that we would need to speak with him regularly to

   defend him in this and other litigation and he had to stay in touch in order for

   us to properly represent him. Mr. Kline agreed.

5. Thereafter Plaintiffs requested to set the deposition of Mr. Kline. Mr. Kline

   was advised by the undersigned, more than once, to let us know what a

   convenient time and place for his deposition would be.

6. Mr. Kline’s “response” has been complete and non-responsive silence.

7. It is impossible for the undersigned to do anything for Mr. Kline under these

   circumstances.

8. Undersigned lack sufficient information to file Mr. Kline’s Answer which is

   due today.

9. Undersigned are no longer willing to represent Mr. Kline.

10. Undersigned currently do not even know with any certainty how to contact

   Mr. Kline.

11. Despite the above, undersigned request Mr. Kline be given an extension of 30

   days to file his Answer herein due to a probable lack of actual notice that it is

   due.

Wherefore, Undersigned attorneys request permission to withdraw as Trial

Attorneys for defendant Elliott Kline.



                                     Respectfully Submitted,


                                     s/ Elmer Woodard __________
                                     ELMER WOODARD (VSB 27734)
                                     5661 US Hwy 29



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                                          Blairs, Va. 24527
                                          (434) 878-3422
                                          isuecrooks@comcast.net
                                          Trial Attorney for Defendant

                                          S/ James E. Kolenich (PHV)
                                          KOLENICH LAW OFFICE
                                          9435 Waterstone Blvd. #140
                                          Cincinnati OH 45249
                                          Phone: 513.444.2150
                                          Fax: 513.297.6065
                                          e-mail: Jek318@gmail.com
                                          Trial Attorney for Mr. Kline

                            CERTIFICATE OF SERVICE

I hereby certify this Notice and all accompanying documents were served via the
Court’s ECF system on July 23, 2018 upon:

All parties of record. No party is entitled to or has requested service by other means.

Mr. Elliott Kline via e-mail at REDACTED.


                                                  s/ Elmer Woodard
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                                                  E. Woodard (VSB 27734)




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